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                          UNITED STATES DISTRICT COURT
                           SOUTHERN DISTRICT OF OHIO
                           WESTERN DIVISION AT DAYTON


UNITED STATES OF AMERICA

                              Plaintiff,

-vs-                                             Case No. 3:12-cr-116(10)

HILBERTO RICO                                     District Judge Thomas M. Rose

                        Defendant.
__________________________________________________________________________________

                        ENTRY AND ORDER DENYING DEFENDANT’S
                         MOTION TO REDUCE SENTENCE (DOC. 362)

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       The Defendant filed a Motion to Reduce Sentence (Doc. 362) on June 25, 2015 and the

Government filed a response (Doc. 365) on August 14, 2015.

       At the Defendant’s original disposition his calculated base offense level was 32.          After

reductions, including a two level reduction under U.S.S.G. §2 D1.1(a)(5)(A) and (B), the Defendant’s

total offense level was 23.

       U.S.S.G. §2 D1.1(a)(5)(A) and (B) provides for an offense level that is specified in subsection c

of that guideline decreased by two, three and four levels if that offense level is 32 or above. However

§2D1.1 (a)(5)(A) and (B) provides no decrease for offense levels below 32.

       Defendant’s new calculated offense level with the two level reduction pursuant to Amendment

782 and in accordance with U.S.S.G. § 1B1.10 is a 30. The Defendant is again eligible for all the same

decreases in his offense level with the exception of the two level reduction under §2D1.1(a)(5)(A) and

(B) for offense levels of 32 or above.
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          As a result, applying the other reductions that were previously applied and to which he is still

eligible, the Defendant’s new total offense level is, again, 23. The resulting range of sentencing is the

same as previously determined 46 to 57 months.

          Consequently the Defendant is ineligible for further reduction because his guideline range was

not lowered by the amendment. Therefore the Defendant’s Motion to Reduce Sentence (Doc. 362) is

denied.

          IT IS SO ORDERED.

September 21, 2015                                            *s/THOMAS M. ROSE

                                                           _____________________________________
                                                            THOMAS M. ROSE
                                                            UNITED STATES DISTRICT JUDGE
